







		NO. 12-08-00205-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS



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IN RE: MICHAEL KENNEDY,

RELATOR§
	ORIGINAL PROCEEDING


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MEMORANDUM OPINION


	Michael Kennedy seeks a writ of mandamus requiring "the district court" to appoint a judge
to decide a civil rights lawsuit that Kennedy alleges he has filed in which he names all of the
Anderson County district judges as parties.

	Mandamus is an extraordinary remedy and was intended to be available "only in situations
involving manifest and urgent necessity and not for grievances that may be addressed by other
remedies."  Walker v. Packer, 827 S.W.2d 833, 840 (Tex.1992).  For Kennedy to be entitled to relief
by mandamus, he must meet two requirements.  First, he must show that the trial court clearly abused
its discretion.  See id.  Second, he must show that he lacks an adequate remedy at law, such as an
ordinary appeal.  See id.  

	Kennedy's mandamus petition contains no factual allegations supporting his request for
relief.  See Tex. R. App. P. 52.3(g).  Moreover, his petition does not include an appendix, see Tex.
R. App. P. 52.3(j)(1)(A), and is not accompanied by a record.  See Tex. R. App. P. 52.7(a)(1). 
Consequently, we are unable to conclude that "the district court" has abused its discretion. 
Kennedy's petition for writ of mandamus is denied.

								     JAMES T. WORTHEN    

									     Chief Justice

Opinion delivered May 21, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.


(PUBLISH)



